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      UNITED STATES OF AMERICA
12
                              UNITED STATES DISTRICT COURT
13
                       FOR THE CENTRAL DISTRICT OF CALIFORNIA
14
                                      WESTERN DIVISION
15
      IN RE RETURN OF PROPERTY           )   Case No. CV 21-5073-RGK(MARx)
16    SEIZED FROM THE USPV SAFE          )
      DEPOSIT BOX(ES) OF                 )   ANSWER OF RESPONDENT UNITED STATES
17    MICHAEL GALLAGHER,                 )   OF AMERICA TO MOVANT’S MOTION FOR
                                         )   RETURN OF PROPERTY PURSUANT TO FED.
18                                       )   R. CRIM. P. 41(g), WHICH IS TREATED
                                         )   AS A COMPLAINT
19    PETER GALLAGHER, personal )
      representative for the             )
20    Estate of Michael                  )
      Gallagher,                         )
21                                       )
                  Movant,                )
22                                       )
                     v.                  )
23                                       )
      UNITED STATES OF AMERICA, )
24                                       )
                  Respondent.            )
25    __________________________________ )

26          Respondent United States of America (“Respondent”) answers
27    the motion for return of property (the “complaint/return
28    motion”) pursuant to Fed. R. Crim. P. 41(g) filed by movant
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1     Peter Gallagher, personal representative for the Estate of
2     Michael Gallagher, which is to be treated as a complaint, 1 and
3     alleges as follows:
4           1.    Denies the allegations set forth in the first
5     paragraph of the Introduction section of the complaint/return
6     motion, except admits that the parties are trying to make a
7     determination regarding this issue.        The boxes involved are not
8     identified in the complaint/return motion and the moving party
9     does not know what boxes belong to Michael Gallagher.          See
10    complaint/return motion at 5:7-11.
11          2.    Denies knowledge or information sufficient to form a
12    belief regarding the allegations in the second paragraph of the
13    Introduction section because it is unclear what property is
14    involved in this matter.
15          3.    Denies knowledge or information sufficient to form a
16    belief regarding the allegations set forth in the first
17    paragraph of the Statement of Facts at 2:16-22, except admits
18    that USPV operated a private safe deposit box facility.
19          4.    Alleges that the allegations in the second paragraph
20    of the Statement of Facts at 2:23-27 sets forth legal argument,
21    for which no response to a complaint is required.
22          1Because Movant is not a defendant in any pending criminal
      action, Ninth Circuit precedents provide that a movant’s motion
23    for return of property be treated as a civil complaint governed
      by the Federal Rules of Civil Procedure. Kardoh v. United
24    States, 572 F.3d 697, 702 (9th Cir. 2009) (“Because there were
      no criminal proceedings pending, the motion [filed by movant
25    pursuant to Rule 41(g)] should have been treated as a civil
      complaint governed by the Federal Rules of Civil Procedure”)
26    (citations omitted); United States v. Ibrahim, 522 F.3d 1003,
      1007 (9th Cir. 2008) (“Because there were no criminal
27    proceedings pending at the time of filing, the district court
      properly treated the motion as a civil complaint governed by the
28    Federal Rules of Civil Procedure”) (citation omitted); United
      States v. Ritchie, 342 F.3d 903, 906-907 (9th Cir. 2003) (same).
                                      2
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1           5.    Alleges that the allegations in the third paragraph of
2     the Statement of Facts at 2:27-3:26 sets forth legal argument,
3     for which no response to a complaint is required.
4           6.    Denies the allegations in the fourth paragraph of the
5     Statement of Facts at 3:27-4:7, except admits that a sign posted
6     at USPV provided a website whereby persons could submit a claim
7     to their property.
8           7.    Denies the allegations in the fifth paragraph of the
9     Statement of Facts at 4:8-23, except admits that various notices
10    were sent and publications were made, which documents speak for
11    themselves.
12          8.    Denies knowledge or information sufficient to form a
13    belief regarding the allegations set forth in the sixth
14    paragraph of the Statement of Facts at 4:24-5:6.
15          9.    Denies knowledge or information sufficient to form a
16    belief regarding the allegations set forth in the seventh
17    paragraph of the Statement of Facts at 5:7-13.
18          10.   Denies knowledge or information sufficient to form a
19    belief regarding the allegations set forth in the eighth
20    paragraph of the Statement of Facts at 5:14-18.
21          11.   Denies knowledge or information sufficient to form a
22    belief regarding the allegations set forth in the ninth
23    paragraph of the Statement of Facts at 5:19-27.
24          12.   Alleges that the allegations in the first paragraph of
25    the Argument Section at 6:4-10 sets forth legal argument, for
26    which no response to a complaint is required.
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1           13.   Alleges that the allegations in the second paragraph
2     of the Argument Section at 6:11-22 sets forth legal argument,
3     for which no response to a complaint is required.
4           14.   Alleges that the allegations in the third paragraph of
5     the Argument Section at 6:23-7:15 sets forth legal argument, for
6     which no response to a complaint is required.
7           15.   Alleges that the allegations in the fourth paragraph
8     of the Argument Section at 7:18-23 sets forth legal argument,
9     for which no response to a complaint is required.
10          16.   Alleges that the allegations in the fifth paragraph of
11    the Argument Section at 7:24-8:6 sets forth legal argument, for
12    which no response to a complaint is required.
13          17.   Alleges that the allegations in the sixth paragraph of
14    the Argument Section at 8:7-19 sets forth legal argument, for
15    which no response to a complaint is required.
16          18.   Alleges that the allegations in the seventh paragraph
17    of the Argument Section at 8:20-28 sets forth legal argument,
18    for which no response to a complaint is required.
19          19.   Denies the allegations in the eighth paragraph of the
20    Argument Section at 9:3-13, except admits that the Respondent
21    government cannot identify which USPV boxes belong to Michael
22    Gallagher.
23                              AFFIRMATIVE DEFENSES
24                           FIRST AFFIRMATIVE DEFENSE
25          1.    The complaint/return motion fails to state a claim
26    upon which relief can be granted.
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1                            SECOND AFFIRMATIVE DEFENSE
2           2.    The Court lacks subject matter jurisdiction over this
3     action.
4                                 PRAYER FOR RELIEF
5           WHEREFORE, Respondent prays that movant take nothing by
6     movant’s complaint/return motion, that judgment be awarded in
7     favor of Respondent dismissing movant’s complaint/return motion
8     with prejudice, that Respondent be awarded its costs of suit
9     incurred herein, and that the Court award Respondent such other
10    and further relief as may be appropriate.
11    DATED: September 23, 2021          TRACY L. WILKISON
                                         Acting United States Attorney
12                                       SCOTT M. GARRINGER
                                         Assistant United States Attorney
13                                       Chief, Criminal Division
                                         JONATHAN GALATZAN
14                                       Assistant United States Attorney
                                         Chief, Asset Forfeiture Section
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16
                                                   /S/                  _
17                                       VICTOR A. RODGERS
                                         MAXWELL COLL
18                                       Assistant United States Attorneys
19                                       Attorneys for Respondent
                                         UNITED STATES OF AMERICA
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